UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ESPIRE ADS LLC, THE BLU MARKET, INC.,                               1:21-cv-10623-JGK
ex rel. LISA NAVARRO, THE BLU MARKET
LLC, ex rel. LISA NAVARRO, and LISA                                 NOTICE OF MOTION
NAVARRO individually,
                                    Plaintiffs,
         v.
TAPP MARKET INFLUENCERS, LLC, TAPP
INFLUENCERS CORP., THE BLU
MARKET, INC., THE BLU MARKET LLC,
STEVEN FORKOSH, BRENNAN KASTNER,
and JUSTIN EMERT,
                                    Defendants
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         PLEASE TAKE NOTICE that Defendants will move this Court, before the Honorable

John G. Koeltl at the United States District Court for the Southern District of New York, at the

United States Courthouse, 500 Pearl Street, Courtroom 14A, New York, NY 10007-1312, on a

date and time designated by the Court, to dismiss the first amended complaint pursuant to Rules

9(b) and 12 (b)(2),(3),(6)and (7) of the Federal Rules of Civil Procedure.

         Defendants respectfully request oral argument at a time and place to be determined by the

Court.

Dated: New York, New York
        April 30, 2022
                                                       Richard L. Herzfeld, P.C.

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                                                       By: RICHARD L. HERZFELD
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